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 1   DWIGHT M. SAMUEL (CA SB# 054486)
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 5   Attorney for Defendant
     PRASERT SOMSINSAWASDI
 6
 7
 8                          IN THE UNITED STATES DISTRICT COURT
 9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA         )             CASE NO.: CR.S 06-00343 DLJ
                                      )
13        Plaintiff,                  )
14                                    )
          v.                          )             REQUEST FOR ORDER AND ORDER
15                                    )             EXONERATING BOND
     PRASERT SOMSINSAWASDI,           )
16                                    )
          Defendant.                  )
17
     ________________________________)
18
19          On or about September 18, 2006, an appearance bond for the amount of
20   $170,000.00, secured by a deed against the real property of Vanchai Maneechote and
21
     Pannraj Chitchua, 18600 Mermac Road, Lake Elsinore, CA 92530 Assessors Parcel 347-
22
     050-075, TRA No. 065-06, 1 Mutual Benefit Tr Lot 35 was posted on behalf of Prasert
23
     Somsinsawasdi, No. Cr.S-06-00343. Mr. Somsinsawasdi was arrested in this district based
24
25   upon an indictment filed in this district.

26          On November 13, 2007, Mr. Somsinsawasdi was sentenced in this case and

27   subsequently his self surrender date was set for February 8, 2008. Defendant has self
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     surrendered and a copy of the judgment is attached as exhibit to this request.
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 1         It is hereby requested that the $170,000.00 secured appearance bonds be
 2   exonerated in the above-captioned case and that the Clerk of the District Court be directed
 3
     to reconvey back to the Trustors the deed of trust received by the Clerk on or about
 4
     September 18, 2007.
 5
 6
 7   Dated: February 9, 2008                         Respectfully submitted,

 8
 9                                                   /S/Dwight M. Samuel
10                                                   Dwight M. Samuel
                                                     Attorney for Defendant
11                                                   Prasert Somsinsawasdi

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15
           IT IS HEREBY ORDERED that the bail bond in the amount of $170,000.00 posted
16
     by Vanchai Maneechote and Pannraj Chitchua and secured by a Deed of Trust for their
17
18   property is hereby exonerated.

19   Dated: February 14, 2008
20
21
                                                     _______________________________
22                                                   D. Lowell Jensen
                                                     U.S. District Court Judge
23
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